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                     IN THE UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY


  TERESA BARDAJI                               :
  107 Oxford Street                            :
  Cinnaminson, NJ 08077,                       :
                     Plaintiff,                :
        vs.                                    :
                                               :
  WINNER FORD,                                 :
  250 Haddonfield-Berlin Road                  :       NO.
  Cherry Hill, NJ 08034                        :
      And                                      :
  STEVE WINGATE, service Manager of            :
  Winner Ford                                  :       COMPLAINT – Civil Action
  250 Haddonfield-Berlin Road                  :
  Cherry Hill, NJ 08034                        :
      and                                      :
  MICHELLE HATZIS, President and               :       DEMAND FOR A JURY
  General Manager of Winner Ford               :
  250 Haddonfield-Berlin Road                  :
  Cherry Hill, NJ 08034,                       :
                        Defendants.            :



         Plaintiff, Teresa Bardaji (“Plaintiff” or Ms. “Bardaji”), by and through her

  undersigned counsel, as and for her Complaint in this action against Defendants Winner

  Ford, Steve Wingate and Michelle Hatzis (collectively, “Defendants”), hereby alleges as

  follows:

                                  NATURE OF CLAIMS

         This civil action is for monetary damages, to redress Defendants’ unlawful

  employment practices against Plaintiff, including their discriminatory treatment,

  retaliation, hostile work environment and sexual harassment of Plaintiff by defendant

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  Steven Wingate in the workplace. Subsequent, to Plaintiff’s reports of Defendant

  Wingate’s unlawful sexual harassment in the workplace, the co-defendants began to

  retaliate against Plaintiff and created a hostile work environment, in violation of Title VII

  of the Civil Rights Act of 1964, 42 U.S.C. §§ 2000e et. seq. (Title VII); New Jersey

  Conscientious Employee Protection Act and the New Jersey Law Against Discrimination,

  N.J.S.A. 10:5-1 et. seq. (NJLAD).




                               JURISDICTION AND VENUE

         The Court has jurisdiction over this action pursuant to 28 U.S.C. §§ 1331 and

  1343 as this action involves federal questions regarding the deprivation of Plaintiff’s

  rights under Section 1981. The Court has supplemental jurisdiction over the Plaintiff’s

  related claims arising under state and local law pursuant to 28 U.S.C. § 1391(a) because a

  substantial part of the events or omissions giving rise to this action, including the

  employment practices alleged herein, occurred in this district.

                            ADMINISTRATIVE PROCEDURES

         Prior to the filing of this Complaint, Plaintiff filed a charge of discrimination and

  then a second subsequent charge with the Equal Employment Opportunity Commission

  (“EEOC”), alleging violations of Title VII of the Civil Rights Act of 1964, 42 U.S.C. §§

  2000e et. seq. (“Title VII”). Plaintiff’s EEOC charges arise out of many of the same facts

  alleged herein.




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          On May 12, 2021, the EEOC issued the Plaintiff a Right to Sue letter which is

  attached to this complaint as an exhibit. Further, all prerequisites to filing of this suit have

  been met.

                                            PARTIES

      1. Plaintiff, Teresa Bardaji, herein and after “Bardaji”, is an adult female who resides

  at 107 Oxford Street, Cinnaminson, New Jersey, 08077.

      2. Defendant Steve Wingate, herein and after “Wingate”, was employed by Winner

  as a Service Manager and held a supervisory position over Plaintiff, Bardaji.

      3. Michelle Hatzis (at her place of work) 250 Haddonfield-Berlin Rd, Cherry Hill, NJ

  08034, is the President and General Manager of Winner Ford, who at all relevant times,

  held supervisory authority over defendant Wingate and Plaintiff, Bardaji.

      4. Defendant, Winner Ford, is a domestic for-profit business-corporation, a car

  dealership, duly existing under the laws of the State of New Jersey.

      5. Pursuant to New Jersey Rule of Civil Procedure 4:3-2 (a), venue is appropriate in

  this matter because this matter arises from occurrences at Winner Ford which is located in

  Cherry Hill, Camden County, New Jersey.

                                                 FACTS

      6. Bardaji was hired on September 3, 2019, as a Rental Services Coordinator at

  Winner.

      7. On June 1, 2020, Wingate became the Service Manager at Winner and had direct

  supervisory authority over Bardaji.


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     8. Almost immediately after becoming the Service Manager, Wingate began staring

  at Bardaji for extended periods of time to Bardaji’s great discomfort.

     9. Wingate learned that Bardaji had a second career as a real estate agent, which she

  worked after hours and on the weekends when not employed by Winner. Wingate

  approached Bardaji regarding the purchase of a property.

     10. In turn, Wingate began texting and calling Bardaji, after work hours at Winner

  asking her to arrange private home showings for him.

     11. Bardaji felt uncomfortable with Wingate’s repeated contacts and requests to show

  him houses, to be alone with him, she declined to become his real estate agent.

     12. Instead, Bardaji referred Wingate to another agent.

     13. Not long after, Bardaji entered Wingate’s office to ask a work-related question.

     14. As Bardaji asked her question, Wingate changed the topic and began discussing

  aspects of his personal and sexual life that Bardaji found to be inappropriate, disgusting,

  and offensive.

     15. Wingate began by describing to Bardaji the reason why his children no longer speak

  to him.

     16. Wingate told Bardaji that his relationship with his children had been soured by his

  ex-wife who turned the children against him after she discovered a video camera hidden

  behind their television with videos of Wingate engaging in sexual activity with multiple

  women.

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     17. Bardaji was extremely shocked, distraught and struggled to control her emotions

  and tried to redirect the conversation to the work matter.

     18. Bardaji wanted to leave Wingate’s office due to her discomfort, but Wingate

  continued to talk to her.

     19. Throughout this encounter, Bardaji felt depressed, disgusted, and extremely

  uncomfortable, but maintained her composure and did her best to ignore and get through

  Wingate’s sexually charged conversation.

     20. Bardaji believed that even though she had worked at Winner longer than Wingate,

  he could terminate her at his discretion and negatively impact her opportunities to advance

  at work and or if she sought future employment.

     21. Bardaji enjoyed her job at Winner and did not want to lose it, so she was reluctant

  to report Wingate’s behavior and comments for fear of retaliation.

     22. Bardaji is a single mother of two children, with a mortgage and child expenses and

  did not want to lose her stable employment at Winner.

     23. Bardaji enjoyed her job at Winner Ford and had received excellent reviews

  throughout her employment at Winner Ford.

     24. A short time after the preceding incident, Wingate began calling Bardaji “teacup”

  and “buttercup” voicing these “pet names” in front of Winner customers and co-workers.

  Bardaji again felt extremely uncomfortable by Wingate’s moniker of her.




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     25. On multiple occasions, Bardaji saw Wingate intensely staring at her body behind

  reflective glass for extended periods of time.

     26. Bardaji felt extremely disturbed by Wingate’s frequent staring at her body and the

  use of the “pet names” stated above.

     27. On one occasion, Bardaji wore lipstick to work and when Wingate saw Bardaji he

  announced, “look at you…. looking all pretty for us today.”

     28. After that, Bardaji felt uncomfortable wearing makeup and chose to wear a mask

  all day to avoid further comments from Wingate and further discomfort at work.

     29. On a subsequent occasion, Wingate entered Bardaji’s office unannounced and

  maneuvered himself into a two-foot gap between Bardaji’s filing cabinet and back wall and

  commented to her that he found a “great hiding spot.”

     30. Wingate then exited the “hiding spot” but remained in her office when a male co-

  worker entered.

     31. In front of the co-worker, Wingate said that he and Bardaji could just “close the

  blinds for some privacy.”

     32. Bardaji and her co-worker exchanged concerned glances in reaction to Wingate’s

  statement.

     33. It was clear to Bardaji that Wingate was persisting in a pattern of sexual harassment

  toward her and other female co-workers.



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     34. Bardaji observed Wingate’s attention drawn to another female co-worker named

  Stefani who was also being subjected to Wingate’s sexual harassment.

     35. Stefani advised Bardaji that Wingate “gave her creepy vibes” and that she often

  noticed Wingate staring at her, specifically her body.

     36. Bardaji reported her claims of sexual harassment to Hatzis.

     37. On or about July 15, 2020, Bardaji reported Wingate’s conduct to the office of

  defendant Michelle Hatzis.

     38. On or about July 17, 2020, in response to Bardaji’s report of Wingate’s acts, Hatzis

  scheduled a meeting for the following Monday.

     39. On July 20, 2020, at 8 AM, Bardaji was contacted by Winner’s Comptroller (Mary

  G.) requesting that Bardaji participate in a teleconference with her and Hatzis.

     40. During the teleconference, the Comptroller took notes of what Bardaji reported to

  Hatzis.

     41. At the meeting, Bardaji reported Wingate’s acts and included that he often called

  her by the nickname he gave her of “teacup.”

     42. Hatzis responded by saying to Bardaji that the intent behind the nickname “teacup”

  was a compliment by Wingate and not made to harass her.

     43. Hatzis attempted to justify Wingate’s “teacup” comments by saying that Wingate

  believed Bardaji reminded him of the teacup ride at Disneyland because of her energy level

  and energy drink consumption.
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      44. As Bardaji was speaking, Hatzis interrupted and insisted that from that point on she

  cannot share reports of Wingate’s acts with anyone else.

      45. Hatzis essentially placed a “gag order” on the incident and ordered Plaintiff that

  she could not share any information about Wingate to any other employee.

      46. Hatzis stated that the report against Wingate “can really look bad for the dealership

  if it gets out.”

      47. Hatzis seemed irritated by Bardaji’s report of an earlier conversation with her co-

  worker Stefani about Wingate.

      48. Hatzis suggested that Bardaji’s report of Wingate’s acts caused Stefani to start

  viewing Wingate in a negative light.

      49. Again, Hatzis reiterated her order to Bardaji not to discuss anything that was

  addressed in the meeting with anyone.

      50. A few hours later, Bardaji was called to another meeting with Hatzis, Rucci, and

  the Comptroller (Mary G.) to discuss a “promotion.”

      51. This alleged promotion had been brought to Bardaji months earlier but was not

  offered.

      52. Once Bardaji reported Wingate’s acts she was offered the “promotion,” which was

  a position in another office away from Wingate’s office.

      53. The alleged “promotion” was not a promotion, but a reason to move Bardaji away

  from Wingate.
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     54. The promotion Bardaji received kept her with the same prior job assignment but

  added the duties of another position and did not include a raise in pay.

     55. Upon receiving this “promotion,” Bardaji approached her new direct supervisor,

  Rucci, requesting an increase in pay given the additional workload.

     56. Rucci denied the request, citing instructions from Hatzis that a pay increase would

  only be given if the department was built up by Bardaji.

     57. By information or belief, the “promotion” was a ploy by the defendants to add more

  work for Bardaji and make her uncomfortable with the hopes that she would leave and quit

  her job.

     58. Notwithstanding, Bardaji “toughed it out”, continued to work at her best skill level,

  behaved in a professional manner but felt uncomfortable and singled out by Hatzis and

  other supervisors for her report against Wingate.

     59. On August 21, 2020, Bardaji met with Hatzis who questioned Bardaji if she had

  made any comments to others about her issues with Wingate.

     60. Hatzis advised Bardaji that several other co-workers knew about the allegations

  against Wingate and that she wanted to know if Bardaji violated their agreement to remain

  silent after the meeting.

     61. Bardaji reiterated that Wingate often made inappropriate comments in the open that

  were likely overheard resulting in the alleged gossip.




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      62. Hatzis responded that “someone isn’t telling the truth” and they “have specific

   details on what happened.”

      63. Hatzis then told Bardaji that if the rumors persisted or more information of

   Wingate’s acts were to be revealed that the employee found to have done so would be

   immediately terminated.

      64. At the end of the meeting, Hatzis again ordered Bardaji to remain silent about her

   claims regarding Wingate and not disclosing them to any Winner Ford employees.

      65. Ordering Bardaji to remain silent under a threat of termination of employment was

   a continued effort by Hatzis to deter others from coming forward with complaints against

   Wingate.

      66. During the hearing, Hatzis insinuated that Bardaji had spoken to other employees

   about her workplace sexual harassment by Wingate, after she was ordered to remain silent

   and again warned Bardaji of the consequences of speaking about her sexual harassment.

      67. Bardaji understood Hatzis’ warning, that if Wingate’s acts were revealed by her, to

   another employee, she would be terminated.

      68. From that point on, Plaintiff began searching for other employment after the last

   meeting with Hatzis, but she could not afford to take a job for less money than she was

   making.

      69. On April 15, 2021, Plaintiff Bardaji, tendered her two-week resignation, by email,

   to defendant Michelle Hatzis and Winner Ford on or about May 1, 2021.


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      70. The Defendants’ actions caused Bardaji to feel extremely humiliated, degraded,

   victimized, embarrassed, and emotionally distressed.

      71. As a result of the acts and conduct complained of herein, Bardaji has suffered

   pecuniary losses, emotional pain, humiliation, suffering, inconvenience, loss of enjoyment

   of life, and other non-pecuniary losses. Bardaji has further experienced severe emotional

   and physical distress.

      72. The above are just some examples of some of the discrimination to which

   Defendants subjected Bardaji.

                                           COUNT ONE
                             Sexual Harassment and Discrimination
                        Pursuant to Title VII of the Civil Rights Act of 1964,
                                     42 U.S.C. §§ 2000e et. seq.
                                     Bardaji vs. all defendants

          Sexual Harassment is a form of sex discrimination that violates Title VII of the
          Civil Rights Act of 1964. Sexual Harassment is defined in part as the
          “unwelcome” sexual advances and other verbal or physical conduct of a sexual
          nature that explicitly or implicitly affects and individual’s employment and
          interfere with an individual’s work performance or create a hostile or offensive
          work environment.
      73. Plaintiff hereby incorporates the prior paragraphs as if the same were set forth fully

   here at length.

      74. Plaintiff was subject to Sexual Harassment by Defendant Wingate which included

   offensive, “unwanted”, descriptive and inappropriate comments about his sexual life.

      75. Plaintiff was subject to “unwanted” comments about her appearance and

   “unwanted” sexually suggestive comments by Wingate directed at Plaintiff.


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       76. Plaintiff was also subject to unwanted attention by Wingate who attempted on many

   occasions to arrange for him and Plaintiff to be alone. Specifically, Wingate on several

   occasions asked Plaintiff to arrange for house showings were he and her would be the only

   two viewing properties for sale.

       77. Plaintiff was also subject to Wingate concealing himself in her office and

   suggesting that they close the blinds so no one could see in.

       78. Plaintiff was also subject to “unwanted” staring of her body by Wingate to the

   point of severe discomfort, mental distress and often depression as the result of Wingate’s

   acts.

       79. Defendant Wingate exhibited the afore-stated inappropriate behavior toward

   Plaintiff throughout the time that she reported to him as her supervisor.

       80. Plaintiff, a single mother with a mortgage payment, was afraid to speak out about

   Wingate’s unwelcome behavior because she believed that he could terminate her

   employment and/or create a hostile environment for her.

       81. Defendant Wingate’s “unwelcome” behavior got to the point which Plaintiff was

   constantly uncomfortable, disturbed, and fearful at work.

       82. Defendant Wingate’s actions caused Plaintiff to feel extremely humiliated,

   degraded, victimized, embarrassed and emotionally distressed.

       83. Plaintiff’s emotional distress and emotional injuries were severe and of the nature

   that no reasonable person should have to endure.


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      84. Plaintiff suffered mental and emotional harm, fright, and anxiety which has

   manifested itself in physical symptoms.

      85. At all relevant times, Defendant Wingate was a supervisor at Winner Ford and

   reported directly to Defendant Hatzis.

      86. At all relevant times, Defendant Wingate was acting within the scope of his

   employment as he made these inappropriate actions and comments while at work and

   during work-based conversations, while he held a supervisory role over Plaintiff.




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                                           COUNT TWO
                      Retaliation for Plaintiff’s Report of Sexual Harassment
                       Pursuant to Title VII of the Civil Rights Act of 1964,
                                      42 U.S.C. §§ 2000e et. seq.
                            Bardaji vs. Winner Ford and Michelle Hatzis

          To establish a prima facie case of retaliation, plaintiff must show that 1) she was
          engaged in a protected activity known to the defendant; 2) she was thereafter
          subjected to an adverse employment decision by the defendant; and 3) there was a
          causal link between the two. Woods-Pirozzi v. Nabisco Foods, 290 N.J. Super. 252,
          274, 675 A.2d 684, 695, (App. Div. 1996).


       87.        Plaintiff engaged in a protected activity when she reported the acts and

   wrongdoings of Defendant Wingate to Defendant Hatzis and Defendant Winner.

       88.        On July 20, 2020, Hatzis and Bardaji met to discuss Wingate’s sexual

   harassment and instances of “unwanted” conduct.

       89.        Plaintiff was subject to adverse employment decision where Hatzis ordered

   Bardaji to not disclose (“gag order”) Wingate’s acts to anyone else and threatened

   termination of employment if any employees were found to be discussing workplace sexual

   harassment that the employee would be terminated.

       90.        Defendant Hatzis ordered that Bardaji not discuss Wingate’s behavior with

   any other employee and insisted that Bardaji’s report of Wingate’s acts to her co-worker

   Stefani caused her to view Wingate in a negative light.

       91.        Hatzis “gag order” on Bardaji was constructed to minimize the Plaintiff’s

   complaints against Wingate and to stop others from coming forward with complaints

   against Wingate.


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        92.       Plaintiff was subject to an adverse employment decision, where

   immediately after her meeting with Hatzis, Bardaji was called to a second meeting with

   Hatzis, Rucci, and the Comptroller (Mary G.) to discuss a “promotion.”

        93.       The alleged “promotion” kept Plaintiff at her same prior job assignment,

   added the duties of another position and did not include a raise in pay.

        94.       The alleged “promotion” was a ploy by the defendant Hatzis to add more

   work for Bardaji to do, without additional compensation.

        95.       Plaintiff’s alleged promotion was an adverse employment decision by

   Hatzis, on behalf of Winner Ford, against Bardaji because of her reports against Wingate.

        96.       Defendant Hatzis’ decision to promote Plaintiff added more stress and

   anxiety to Bardaji who was purposely overloaded with work.

        97.       Hatzis’ adverse employment decision against the Plaintiff would ultimately

   lead to Bardaji’s “constructive termination.”

        98.       There is a causal link between Bardaji’s report of Wingate’s “unwanted

   conduct”; Bardaji’s conversation with a co-worker female named Stefani (who was also

   targeted by Wingate) and Bardaji’s subsequent promotion which was a ploy to give Bardaji

   more duties, without an increase in pay, with the intent of pushing Bardaji to resign her

   position.

        99.       At all relevant times, Defendant Hatzis as President and General Manager

   was acting within the scope of her employment to advance her and Winner’s agenda.


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                                          COUNT THREE
                    Hostile Work Environment for Report of Sexual Harassment
                        Pursuant to Title VII of the Civil Rights Act of 1964,
                                     42 U.S.C. §§ 2000e et. seq.
                                     Against all the defendants

           To establish a Hostile Work Environment claim against an employer, a plaintiff
           must prove the following: (1) the employee suffered intentional discrimination
           because of their sex; (2) the discrimination was pervasive and regular; (3) the
           discrimination detrimentally affected the plaintiff; (4) the discrimination would
           detrimentally affect a reasonable person of the same sex in that position; and (5)
           the existence of respondeat superior liability. Huston v. P&G Paper Prods. Corp.,
           568 F.3d 100, 104 (3d Cir. 2009).

          100.     Plaintiff hereby incorporates the prior paragraphs as if the same were set

   forth fully here at length.

          101.     Plaintiff was sexually harassed by her supervisor defendant Wingate who

   was employed at Winner Ford.

          102.     Wingate’s harassment of Plaintiff was pervasive and regular and included

   “unwanted” inappropriate acts and constant descriptive comments about his sexual

   activities with other women.

          103.     Wingate’s constantly made “unwanted” comments to Plaintiff about her

   physical appearance.

          104.     Wingate also constantly made “unwanted” sexually suggestive comments

   directed at Plaintiff.

          105.     Wingate constantly called the Plaintiff by inappropriate pet names in front

   of customers and co-workers while at Winner Ford.


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          106.    One instance of Wingate “unwanted” conduct occurred when he attempted

   to conceal himself in Plaintiff’s office and suggested to Plaintiff that they close the blinds

   in her office so no one could see them in her office.

          107.    Every day, Wingate stared at Plaintiff’s body to the point of severe

   discomfort, emotional distress, stress and anxiety to Plaintiff.

          108.    Plaintiff feared and dreaded going to work each day, afraid that she would

   be subject to Wingate’s continued harassment.

          109.    Plaintiff’s oppressive work environment was so severe and of the nature

   that no reasonable person should have to endure.

          110.    Wingate’s “unwanted” conduct and acts were so regular and pervasive,

   committed daily by Wingate toward Plaintiff, without impunity, to an extent that would

   detrimentally affect a reasonable person of the same sex in that position.

          111.    As the result of Wingate’s conduct, Plaintiff felt extremely humiliated,

   offended, intimidated, degraded, victimized, embarrassed, emotionally distressed and her

   workplace environment became offensive and oppressive.

          112.    At all relevant times, Defendant Wingate was acting within the scope of his

   employment as he made these inappropriate actions and comments while at work and

   during work-based conversations, while he held a supervisory role over Plaintiff.




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                                           COUNT FOUR
                                           Civil Conspiracy
                         Pursuant to Title VII of the Civil Rights Act of 1964,
                                      42 U.S.C. §§ 2000e et. seq.
                                      Against all the defendants
           113.    Plaintiff hereby incorporates the prior paragraphs as if the same were set

   forth fully here at length.

           114.    It shall be an unlawful employment practice for an employer (1) to fail or

   refuse to hire or to discharge any individual, or otherwise to discriminate against any

   individual with respect to his compensation, terms, conditions, or privileges of

   employment, because of such individual's race, color, religion, sex, or national origin; or

   (2) to limit, segregate, or classify his employees or applicants for employment in any way

   which would deprive or tend to deprive any individual of employment opportunities or

   otherwise adversely affect his status as an employee, because of such individual's race,

   color, religion, sex, or national origin.

           115.    Defendants engaged in an unlawful discriminatory practice in violation of

   Title VII of the Civil Rights Act of 1964, 42 U.S.C. §§ 2000e et. seq. by conspiring to

   commit and allow the discriminatory conduct to occur against Plaintiff.

           116.    Plaintiff reported to Hatzis all of the instances of sexual discrimination,

   hostile work environment and distress that she was exposed to by Wingate.

           117.    Plaintiff reported to Hatzis that Wingate made her uncomfortable and that

   she was distressed by his constant acts.




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          118.    Defendant Hatzis response seemingly justified instances where Wingate

   called Plaintiff by “pet names.”

          119.    Specifically, Hatzis explained that Wingate’s “nicknames” for Plaintiff

   were meant as compliments, and not to harass her.

          120.    Defendant Hatzis further justified these “nicknames” by claiming that

   Plaintiff reminded Defendant Wingate of the “teacup” ride at Disneyland because of her

   energy level and energy drink consumption.

          121.    Moreover, Defendant Hatzis interrupted Plaintiff as she reported Wingate’s

   conduct and Hatzis ordered Plaintiff that she not share reports of Defendant Wingate’s acts

   with anyone else.

          122.    Defendant Hatzis told Plaintiff that the report against Wingate “….can

   really look bad for the dealership if it gets out” and further ordered Plaintiff not to discuss

   anything that was addressed in the meeting with co-workers, employees or anyone else.

          123.    On August 21, 2020, Defendant Hatzis accused Plaintiff of violating the

   “gag” order imposed by Hatzis that Plaintiff remain silent about any reports she made

   against Wingate.

          124.    Hatzis alleged that several other co-workers had found out about the reports

   and now knew about the allegations against Wingate.

          125.    When Plaintiff denied not violating the “gag order”, Defendant Hatzis

   claimed “...someone isn’t telling the truth...because other co-worker have specific details

   on what happened.” Meaning details of the report by Plaintiff to Hatzis against Wingate.
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           126.    Defendant Hatzis threatened to Plaintiff that if the rumors persisted or more

   information of Defendant Wingate’s acts were to be revealed that the employee found to

   have done so would be immediately terminated.

           127.    Plaintiff took Defendant Hatzis’ words as a threat against her employment,

   that any further information regarding Defendant Wingate’s unlawful behavior would be

   attributed to her and that she would be terminated.

           128.    Defendant Hatzis conspired with Defendants Winner and Wingate to keep

   Plaintiff quiet about Wingate’s unlawful behavior by putting her in fear for her job and vy

   justifying Wingate’s behavior to escape civil liability.

                                                COUNT FIVE
                                   New Jersey Law Against Discrimination
                                 for Sexual Discrimination and Harassment,
                                       N.J.S.A. 10:5-1 et. seq. (NJLAD)
                                          Against all the defendants
           129.    Plaintiff hereby incorporates the prior paragraphs as if the same were set

   forth fully here at length.

           130.    It shall be an unlawful employment practice, or, as the case may be, an

   unlawful discrimination: For an employer, because of the race, creed, color, national

   origin, ancestry, age, marital status, civil union status, domestic partnership status,

   affectional or sexual orientation, genetic information, pregnancy or breastfeeding, sex,

   gender identity or expression, disability…to refuse to hire or employ or to bar or to

   discharge or require to retire, unless justified by lawful considerations other than age, from

   employment such individual or to discriminate against such individual in compensation or

   in terms, conditions or privileges of employment. N.J. Stat. § 10:5-12.
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          131.    Defendants engaged in an unlawful discriminatory practice in violation of

   N.J. Stat. § 10:5-12 by subjecting Plaintiff to sexual harassment including inappropriate

   actions and comments by her supervisor at her place of employment.

          132.    Defendant Wingate exhibited the afore-stated inappropriate behavior

   toward Plaintiff throughout the time that she reported to him as her supervisor.

          133.    Defendant Wingate’s “unwelcome” behavior got to the point where

   Plaintiff was constantly uncomfortable, disturbed, anxious and emotionally distressed and

   fearful at work.

          134.    Defendant Wingate’s actions caused Plaintiff to feel extremely humiliated,

   degraded, victimized, embarrassed and emotionally distressed.

          135.    Plaintiff’s emotional distress and emotional injuries were severe and of the

   nature that no reasonable person should have to endure.

          136.    Plaintiff suffered mental and emotional harm, fright, and anxiety which has

   manifested itself in physical symptoms.

          137.    At all relevant times, Defendant Wingate was a supervisor at Winner Ford

   and reported directly to Defendant Hatzis.

          138.    At all relevant times, Defendant Wingate was acting within the scope of his

   employment as he made these inappropriate actions and comments while at work and

   during work-based conversations, while he held a supervisory role over Plaintiff.




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                                              COUNT SIX
                                 New Jersey Law Against Discrimination
                                            for Retaliation,
                                    N.J.S.A. 10:5-1 et. seq. (NJLAD)
                                       Against all the defendants
           139.    Plaintiff hereby incorporates the prior paragraphs as if the same were set

   forth fully here at length.

           140.    It shall be an unlawful employment practice, or, as the case may be, an

   unlawful discrimination: For any person to take reprisals against any person because that

   person has opposed any practice or acts forbidden under this act or because that person has

   sought legal advice regarding rights under this act, shared relevant information with legal

   counsel, shared information with a governmental entity, or filed a complaint, testified or

   assisted in any proceeding under this act, or to coerce, intimidate, threaten or interfere with

   any person in the exercise or enjoyment of, or on account of that person having aided or

   encouraged any other person in the exercise or enjoyment of, any right granted or protected

   by this act. N.J. Stat. § 10:5-12(d).

           141.    Defendant engaged in an unlawful discriminatory practice by retaliating and

   otherwise discriminating against the Plaintiff because of Plaintiff’s opposition to the

   unlawful employment practices of her employer.

           142.    Plaintiff engaged in a protected activity when she reported the acts and

   wrongdoings of Defendant Wingate to Defendant Hatzis and Defendant Winner.

           143.    On July 20, 2020, Hatzis and Bardaji met to discuss Wingate’s sexual

   harassment and instances of “unwanted” conduct.


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          144.    Plaintiff was subject to adverse employment decision where Hatzis ordered

   Bardaji to not disclose (“gag order”) Wingate’s acts to anyone else and threatened

   termination of employment if any employees were found to be discussing workplace sexual

   harassment that the employee would be terminated.

          145.    Hatzis suggested that Bardaji’s report of Wingate’s acts to her co-worker

   Stefani caused her to view Wingate in a negative light.

          146.    Hatzis “gag order” on Bardaji was to deter others from coming forward with

   complaints against Wingate.

          147.    Plaintiff was subject to an adverse employment decision, where

   immediately after her meeting with Hatzis, Bardaji was called to a second meeting with

   Hatzis, Rucci, and the Comptroller (Mary G.) to discuss a “promotion.”

          148.    The alleged “promotion” Bardaji was awarded kept her at the same prior

   job assignment, added the duties of another position and did not include a raise in pay.

          149.    Upon receiving this “promotion,” Bardaji requested an increase in pay

   given the additional workload, but an increase was ultimately denied by defendant Hatzis.

          150.    The “promotion” was a ploy by the defendant Hatzis to add more work for

   Bardaji to do, without additional compensation, to add more stress and anxiety to Bardaji

   which would ultimately lead to Bardaji’s resignation or termination.

          151.    By information or belief, the promotion was an adverse employment

   decision by Hatzis, on behalf of Winner Ford, against Bardaji.


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           152.    There is a causal link between Bardaji’s report of Wingate’s “unwanted

   conduct”, Bardaji’s conversation with a co-worker female named Stefani (who was also

   targeted by Wingate), which irritated Hatzis and Bardaji’s subsequent promotion, a ploy to

   give Bardaji more duties, without an increase in pay, with the hope that Bardaji would

   resign her position.

           153.    At all relevant times, Defendant Hatzis as President and General Manager

   was acting within the scope of her employment to advance her and Winner’s agenda.

                                            COUNT SEVEN
                                 New Jersey Law Against Discrimination
                                    for Hostile Work Environment,
                                    N.J.S.A. 10:5-1 et. seq. (NJLAD)
                                       Against all the defendants
           154.    Plaintiff hereby incorporates the prior paragraphs as if the same were set

   forth fully here at length.

           155.    It shall be an unlawful employment practice, or, as the case may be, an

   unlawful discrimination: For an employer, because of the race, creed, color, national

   origin, ancestry, age, marital status, civil union status, domestic partnership status,

   affectional or sexual orientation, genetic information, pregnancy or breastfeeding, sex,

   gender identity or expression, disability…to refuse to hire or employ or to bar or to

   discharge or require to retire, unless justified by lawful considerations other than age, from

   employment such individual or to discriminate against such individual in compensation or

   in terms, conditions or privileges of employment. N.J. Stat. § 10:5-12.




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          156.    Defendants engaged in an unlawful discriminatory practice by subjecting

   Plaintiff to oppressive work environment conditions which were so severe and of the nature

   that no person should have to endure.

          157.    Plaintiff was sexually harassed by her supervisor defendant Wingate who

   was employed by Winner Ford and supervised by the President and General Manager of

   Winner Ford, defendant Michelle Hatzis.

          158.    Wingate’s harassment of Plaintiff was pervasive and regular which included

   “unwanted” inappropriate acts and comments about his sexual life; “unwanted” comments

   about her appearance; “unwanted” sexually suggestive comments by Wingate directed at

   Plaintiff; the “unwanted” use of inappropriate pet names by Wingate; an instance of

   Wingate concealing himself in Plaintiff’s office and suggesting that they close the blinds

   in her office so no one could see in; and, the “unwanted” staring at Plaintiff’s body to the

   point of severe discomfort on Plaintiff’s behalf.

          159.    Plaintiff feared that if she ignored Wingate, he would have her employment

   terminated since he was her supervisor.

          160.    Plaintiff feared and dreaded going to work each day, afraid that she would

   be subject to Wingate’s continued harassment.

          161.    Plaintiff’s oppressive work environment was so severe and of the nature

   that no reasonable person should have to endure.




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           162.    Wingate’s “unwanted” conduct and acts were so regular and pervasive to

   an extent that would detrimentally affect a reasonable person of the same sex in that

   position.

           163.    As the result of Wingate’s conduct, Plaintiff felt extremely humiliated,

   offended, intimidated, degraded, victimized, embarrassed, emotionally distressed and her

   workplace environment became offensive and oppressive.

           164.    At all relevant times, Defendant Wingate was acting within the scope of his

   employment as he made these inappropriate actions and comments while at work and

   during work-based conversations, while he held a supervisory role over Plaintiff.

                                            COUNT EIGHT
                                 New Jersey Law Against Discrimination
                                         for Civil Conspiracy,
                                    N.J.S.A. 10:5-1 et. seq. (NJLAD)
                                       Against all the defendants
           165.    Plaintiff hereby incorporates the prior paragraphs as if the same were set

   forth fully here at length.

           166.    It shall be an unlawful employment practice: for any person, whether an

   employer or an employee or not, to aid, abet, incite, compel or coerce the doing of any of

   the acts forbidden under this act, or to attempt to do so. N.J. Stat. § 10:5-12(e).

           167.    Defendants engaged in an unlawful discriminatory practice in violation of

   N.J. Stat. § 10:5-12(e) by aiding, abetting, inciting, compelling and coercing the

   discriminatory conduct.




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          168.    When Plaintiff reported the instances in which Defendant Wingate made

   her uncomfortable, Defendant Hatzis replied by claiming Defendant Wingate’s

   “nicknames” for Plaintiff were meant as compliments, and not to harass her.

          169.    Defendant Hatzis further justified these “nicknames” by claiming that

   Plaintiff reminded Defendant Wingate of the “teacup” ride at Disneyland because of her

   energy level and energy drink consumption.

          170.    Defendant Hatzis interrupted Plaintiff during the conversation in which

   Plaintiff reported these instances and insisted that she not share reports of Defendant

   Wingate’s acts with anyone else.

          171.    Specifically, Defendant Hatzis told Plaintiff that the report against

   Defendant Wingate “can really look bad for the dealership if it gets out” and ordered

   Plaintiff not to discuss anything that was addressed in the meeting with anyone else.

          172.    On August 21, 2020, Defendant Hatzis questioned Plaintiff to see if she had

   violated the agreement to remain silent after their initial meeting and alleged that several

   other co-workers knew about the allegations.

          173.    When Plaintiff denied discussing Defendant Wingate with other co-

   workers, Defendant Hatzis claimed that “someone isn’t telling the truth” because other co-

   workers “have specific details on what happened.”

          174.    Defendant Hatzis then told Plaintiff that if the rumors persisted or more

   information of Defendant Wingate’s acts were to be revealed that the employee found to

   have done so would be immediately terminated.
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           175.    Plaintiff took Defendant Hatzis’ words as a threat against her employment

   that any further information regarding Defendant Wingate’s unlawful behavior would be

   attributed to her and that she would be terminated.

           176.    Defendants conspired to keep Plaintiff quiet about the unlawful behavior of

   Defendant Wingate towards Plaintiff by putting her in fear for her job and attempting to

   justify the words and actions of Defendant Wingate.

                                         COUNT NINE
                                For Adverse Employment Actions,
                         New Jersey Conscientious Employee Protection Act
                          Against Defendant Hatzis and Defendant Winner
           177.    Plaintiff hereby incorporates the prior paragraphs as if the same were set

   forth fully here at length.

           178.    The New Jersey Conscientious Employee Protection Act (“CEPA”)

   prohibits employers from taking adverse employment actions against employees who

   disclose, object to, or refuse to participate in certain actions that the employee reasonably

   believes to be either illegal or in violation of public policy.

           179.    Defendants took adverse action against Plaintiff by prohibiting her from

   speaking with her co-worker Stefani regarding the harassment that both women were

   subjected to by Defendant Wingate.

           180.    When Plaintiff reported the harassment to Defendant Hatzis, she provided

   information about a conversation and Stefani had about the inappropriate comments and

   behavior of Defendant Wingate.


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          181.   Defendant Hatzis seemed irritated that Plaintiff discussed this with her co-

   worker and placed a “gag” order on Plaintiff as the reported harassment could result in

   Defendant Winner being viewed in a negative light.

          182.   Defendant Hatzis later reminded Plaintiff of this “gag” order as there were

   alleged rumors going around the dealership about Defendant Wingate’s inappropriate

   behavior. Specifically, Defendant Wingate threatened to terminate the employment of

   Plaintiff or any other employee who was found to be discussing this matter.

          183.   Plaintiff was fearful for her job due to this threat and felt Defendant Hatzis

   and Defendant Winner were punishing her for making the report against Defendant

   Wingate.

          184.   Defendants’ actions towards Plaintiff after her report of Defendant

   Wingate’s actions were unlawful and prohibited by the CEPA.

          WHEREFORE, for all the foregoing reasons, as a result of the acts and conduct

   complained of herein against the defendants, Accordingly, Plaintiff seeks damages for

   pecuniary losses, damages for severe emotional pain, damages for physical and emotional

   distress, pecuniary and non-pecuniary losses and punitive damages and any other remedy

   or damages which this Court deems appropriate against all the defendants.




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